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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION

 UNITED STATES OF AMERICA,                    CR-23-14-M-DWM

              Plaintiff,
                                              UNITED STATES’
        vs.                                   EXPERT WITNESS
                                              DISCLOSURE
 JUSTIN JOSE ROMO,
                                                    Gennesis Claro
              Defendant.                            Son X. Hoang
                                                    Minh C. Nguyen
                                                    Brittany Huntington




      As required by Fed. R. Crim. P. 16(a)(1)(G) and L.R. 16.3, the United States

provides the following disclosure of expert testimony it intends to provide at trial.



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      Gennesis Claro

      Gennesis Claro is a Forensic Chemist with the Department of Justice Drug

Enforcement Administration, Office of Forensic Science Western Regional

Laboratory in Pleasanton, California. Claro examined and analyzed drug evidence

collected during the investigation of Justin Jose Romo.

      Specifically, on July 7, 2022, law enforcement conducted a traffic stop on

Romo and he was arrested on a probation violation. Law enforcement recovered

substances suspected to be fentanyl, methamphetamine from his vehicle. Claro

used gas chromatography/mass spectrometry, and infrared spectroscopy to

determine Exhibit 3 contained methamphetamine.

      Claro will testify to the analysis of the evidence, how the results were

interpreted following the analysis, and to opinions about the results. The attached

Case Details Report provides Claro’s full analysis and basis for opinions in this

case. When testifying, Claro will only testify as an expert witness and will not

testify as a lay witness.

      The United States attaches the below exhibits:

      Exhibit 1A:   Gennesis Claro Maloney Curriculum Vitae
      Exhibit 1B:   Summary of Testimony
      Exhibit 1C:   Chemical Analysis Report
      Exhibit 1D:   Case Details Report




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      Son Xuan Hoang

      Son Xuan Hoang is a Senior Forensic Chemist with the Department of

Justice Drug Enforcement Administration, Office of Forensic Science Western

Regional Laboratory in Pleasanton, California. Hoang examined and analyzed

drug evidence collected during the investigation of Justin Jose Romo.

      Specifically, on July 7, 2022, law enforcement conducted a traffic stop on

Romo and he was arrested on a probation violation. Law enforcement recovered

substances suspected to be fentanyl, methamphetamine from his vehicle. Hoang

used gas chromatography/mass spectrometry, infrared spectroscopy, and Marquis

color test to determine Exhibit 1 contained methamphetamine.

      Hoang will testify to the analysis of the evidence, how the results were

interpreted following the analysis, and to opinions about the results. The attached

Case Details Report provides Hoang’s full analysis and basis for opinions in this

case. When testifying, Hoang will only testify as an expert witness and will not

testify as a lay witness.

      The United States attaches the below exhibits:

      Exhibit 2A:   Son Xuan Hoang Curriculum Vitae
      Exhibit 2B:   Summary of Testimony
      Exhibit 2C:   Chemical Analysis Report
      Exhibit 2D:   Case Details Report




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      Minh C. Nguyen

      Minh C. Nguyen is a Senior Forensic Chemist with the Department of

Justice Drug Enforcement Administration, Office of Forensic Science Western

Regional Laboratory in Pleasanton, California. Nguyen examined and analyzed

drug evidence collected during the investigation of Justin Jose Romo.

      Specifically, on July 7, 2022, law enforcement conducted a traffic stop on

Romo and he was arrested on a probation violation. Law enforcement recovered

substances suspected to be fentanyl, methamphetamine from his vehicle. Nguyen

used gas chromatography, gas chromatography/mass spectrometry, and

immunoassay test to determine Exhibit 4 contained N-Phenyl-N-[1-(2-

phenylethyl)-4-piperdinyl] propenamide.

      Nguyen will testify to the analysis of the evidence, how the results were

interpreted following the analysis, and to opinions about the results. The attached

Case Details Report provides Nguyen’s full analysis and basis for opinions in this

case. When testifying, Nguyen will only testify as an expert witness and will not

testify as a lay witness.

      The United States attaches the below exhibits:

      Exhibit 3A:   Minh C. Nguyen Curriculum Vitae
      Exhibit 3B:   Summary of Testimony
      Exhibit 3C:   Chemical Analysis Report
      Exhibit 3D:   Case Details Report



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      Brittany Huntington

      Brittany Huntington is a Senior Forensic Chemist with the Department of

Justice Drug Enforcement Administration, Office of Forensic Science Western

Regional Laboratory in Pleasanton, California. Huntington examined and

analyzed drug evidence collected during the investigation of Justin Jose Romo.

      Specifically, on July 7, 2022, law enforcement conducted a traffic stop on

Romo and he was arrested on a probation violation. Law enforcement recovered

substances suspected to be fentanyl, methamphetamine from his vehicle.

Huntington used gas chromatography/mass spectrometry and infrared spectroscopy

to determine Exhibit 1 contained methamphetamine. Huntington used gas

chromatography/mass spectrometry, and immunoassay test to determine Exhibit 2

contained N-Phenyl-N-[1-(2-phenylethyl)-4-piperdinyl] propenamide.

      Huntington will testify to the analysis of the evidence, how the results were

interpreted following the analysis, and to opinions about the results. The attached

Case Details Report provides Huntington’s full analysis and basis for opinions in

this case. When testifying, Huntington will only testify as an expert witness and

will not testify as a lay witness.

      The United States attaches the below exhibits:

      Exhibit 4A:   Brittany Huntington Curriculum Vitae
      Exhibit 4B:   Summary of Testimony
      Exhibit 4C:   Chemical Analysis Report – methamphetamine
      Exhibit 4D:   Case Details Report – methamphetamine

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Exhibit 4E: Chemical Analysis Report – fentanyl
Exhibit 4F: Case Details Report – fentanyl


Respectfully submitted this 23rd day of March, 2023.

                                     JESSE A. LASLOVICH
                                     United States Attorney


                                     /s/ Jennifer S. Clark
                                     Assistant U.S. Attorney
                                     Attorney for Plaintiff




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